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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
                           CIVIL MINUTES – GENERAL
                                                                             JS-6
 Case No. 2:23-cv-07593-HDV-KS                            Date March 13, 2025
 Title Robert Hunter Biden v. Garrett Ziegler, et al.

 Present: The Honorable Hernán D. Vera, United States District Judge

              Wendy Hernandez                             Not Reported
               Deputy Clerk                               Court Reporter

  Attorney(s) Present for Plaintiff(s):        Attorney(s) Present for Defendant(s):
                Not Present                                 Not Present

 Proceedings: IN CHAMBERS—ORDER DISMISSING ACTION WITH PREJUDICE

       On September 13, 2023, Plaintiff Robert Hunter Biden filed his complaint
against Defendants Garrett Ziegler and ICU, LLC (dba “Marco Polo”). See
Complaint [Dkt. No. 1]. Plaintiff brought a federal claim under the Computer
Fraud and Abuse Act, 18 U.S.C. § 1030, and two state law claims: one under
California’s Comprehensive Computer Data Access and Fraud Act, Cal. Penal
Code § 502, and the other under California’s Unfair Competition Law, Bus. &
Prof. Code §§ 17200 et seq. Id. On December 21, 2023, Defendants filed a
motion seeking dismissal under Federal Rules 12(b)(1), (2), (3), and (6), as well as
dismissal pursuant to California’s Anti-SLAPP statute, Cal. Civ. Proc. Code §
425.16 [Dkt. No. 23]. The Court denied the motion in its entirety [Dkt. No. 50].

       Before the Court is Plaintiff’s ex parte application seeking an order allowing
Plaintiff to voluntarily dismiss his case, without prejudice, pursuant to Federal
Rule 41(a)(2). Ex Parte Application for Order to Voluntarily Dismiss Action
(“Application”) [Dkt. No. 85]. Plaintiff contends that he has good reasons for
seeking dismissal—including financial difficulties due to a downturn in the sales of
his artwork and memoir, the inability to borrow additional money, and the Pacific
Palisades wildfire forcing him and his family to find a new home. Application at
6; Declaration of Robert Hunter Biden in Support of Plaintiff’s Application ¶¶ 3–5

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[Dkt. No. 85-1]. Plaintiff further asserts that Defendants will not suffer any harm
from a voluntary dismissal without prejudice because they would not lose the
ability to assert any rights or defenses in the future, and because only limited
discovery has occurred thus far. Id. at 7.

        Defendants oppose the Application. Defendants argue that they will suffer
legal prejudice should the Court grant a dismissal without prejudice. Defendants’
Opposition to Plaintiff’s Application (“Opposition”) at 10 [Dkt. No. 88].
Specifically, they contend that because they have already exchanged their summary
judgment brief with Plaintiff, and because the scheduled deposition of Plaintiff was
imminent, dismissal without prejudice would give Plaintiff an unfair advantage.
Id. at 9, 11–13.

       The Court agrees.

       Federal Rule 41 grants the district court “discretion to dismiss a case with or
without prejudice.” Kamal v. Eden Creamery, LLC, 88 F.4th 1268, 1279 (9th Cir.
2023) (citing Fed. R. Civ. P. 41(a)(2)). That discretion is informed by the principle
that a court should grant the request unless a defendant can show that it will “suffer
some plain legal prejudice as a result.” Id.; Stevedoring Servs. Of Am. v. Armilla
Int’l B.V., 889 F.2d 919, 921 (9th Cir. 1989) (“The purpose of [41(a)(2)] is to
permit a plaintiff to dismiss an action without prejudice so long as the defendant
will not be prejudiced or unfairly affected by dismissal.”) (citation omitted). In
other words, a district court has the discretion to allow a voluntary dismissal with
prejudice only in cases of legal prejudice. Kamal, 88 F.4th at 1280–1281 (“[W]e
reject Defendants’ argument that dismissal may be with prejudice, even if the
defendant would suffer no legal prejudice from a dismissal without prejudice[.]”).

       “Legal prejudice” is a term of art meaning “prejudice to some legal
interest,…claim,…[or] argument.” Kamal, 88 F.4th at 1280. Courts have
determined that legal prejudice arises in certain situations, including the potential
loss of a federal forum, the potential conflict of federal rules, or the implication of
a complete defense. Westlands Water Dist. v. U.S., 100 F.3d 94, 97 (9th Cir. 1996)
(collecting cases); Smith v. Lenches, 263 F.3d 972, 976 (9th Cir. 2001). Courts in
this circuit have weighed a list of factors in determining whether legal prejudice
exists: (a) the effort and expense to the defendant involved in litigating the case,
(b) any excessive delay and lack of diligence on the part of the plaintiff, and (c)
whether sufficient explanation for the need to dismiss was provided. FaceTec, Inc.



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v. Jumio Corporation, No. 24-cv-03623-RFL, 2024 WL 4703142, at *1 (N.D. Cal.
Nov. 1, 2024).

        Applying that standard, the Court concludes that Defendants would in fact
suffer legal prejudice if the voluntary dismissal were granted as requested by
Plaintiff (i.e., with the ability to refile). The parties have both expended significant
resources in litigating the initial motion to dismiss, including a subsequent request
for attorney’s fees filed by Plaintiff [Dkt. No. 52]. More importantly, the Court
notes that Defendants have already prepared a motion for summary judgment and
exchanged this document with Plaintiff’s counsel, as required by the Court’s
Standing Order. Opposition, Declaration of Jennifer L. Holliday in Opposition to
Plaintiff’s Application (“Holliday Decl.”) ¶ 4 [Dkt. No. 88-1]. This motion
effectively gives Plaintiff a roadmap to Defendants’ most important legal
arguments, and provides a prejudicial advantage given that Plaintiff has not yet had
to file an opposition.1 If allowed to refile this same case in the future, Plaintiff
could develop new facts, contact new witnesses, explore and include additional
claims, and thereby gain a strategic advantage in opposing the factual and legal
defenses presented in Defendants’ motion. That is more than inconvenience or
additional expense—it represents real legal prejudice to Defendants in defending
refiled litigation. On this record, the Court cannot find that Plaintiff acted
diligently in requesting voluntary dismissal prior to the exchange of Defendants’
summary judgment brief.

       In addition, the Court considers the fact that Plaintiff is seeking voluntary
dismissal without prejudice on the eve of Plaintiff’s deposition, which was
scheduled for March 10, 2025. Opposition at 9, Holliday Decl. ¶ 3. Again,
allowing Plaintiff to dismiss without prejudice would give him additional time to
prepare for deposition with the information gleaned from Defendants’ recent
briefing. Discovery-related considerations like these are proper grounds to find
legal prejudice. See, e.g., In re Exxon Valdez, 102 F.3d 429, 432 (9th Cir. 1996)
(finding “thinly-veiled attempts to avoid discovery” to be grounds for legal
prejudice).




1
 Plaintiff is seeking dismissal prior to the deadline for the exchange of its opposition brief.
Holliday Decl. ¶ 11.

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      To be clear, the Court does not express any opinion concerning the
underlying merits of the case. And the Court accepts the detailed representations
made by Plaintiff as to the reasons motivating his request to dismiss. But under
Fed. R. Civ. P. 41, and on these facts, Plaintiff’s request to dismiss without
prejudice is not warranted.

      Plaintiff’s ex parte application to dismiss the case is granted, but the
dismissal is entered with prejudice.

IT IS SO ORDERED.




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